   Case 3:23-cv-09962-TKW-ZCB       Document 1    Filed 05/10/23   Page 1 of 10




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

STATE OF FLORIDA,

      Plaintiff,

      v.                                    Case No. 3:23-cv-9962

ALEJANDRO MAYORKAS, Secretary
of the United States Department of
Homeland Security, in his official
capacity; RAUL ORTIZ, Chief of Border
Patrol, in his official capacity; the
UNITED STATES OF AMERICA,

     Defendants.
_________________________________/

             COMPLAINT FOR TEMPORARY RESTRAINING
               ORDER, PRELIMINARY AND PERMANENT
           INJUNCTIVE RELIEF, AND DECLARATORY RELIEF

                               INTRODUCTION

      1.     Much ink has been spilled regarding Florida’s dispute with the Biden

Administration over the mass release of aliens at the Southwest Border.

      2.     On March 8, 2023, after a year and a half of litigation, this Court

vacated one of the Biden Administration’s unlawful release policies under the

Administrative Procedure Act (APA) and entered final judgment. See Op. & Order,
    Case 3:23-cv-09962-TKW-ZCB            Document 1       Filed 05/10/23     Page 2 of 10




Doc. 157, Florida v. United States, No. 3:21-cv-1066-TKW-ZCB (N.D. Fla. Mar. 8,

2023) (Wetherell, J.).1

       3.     The vacated policy was known as the Parole Plus Alternatives to

Detention Policy (Parole + ATD).

       4.     Rather than seek an emergency stay, the Department of Homeland

Security (DHS) sat on its hands for 58 days before even filing a notice of appeal.

       5.     Now, with the Title 42 order set to expire on May 11, DHS apparently

regrets that decision. The agency, entirely unprepared for the surge of migrants that

will come to the Southwest Border when Title 42 ends, did not plan for this plainly

foreseeable result.

       6.     Today is May 10, the day before the Title 42 order expires, and the

media reports that DHS plans to immediately restart the en masse parole of aliens at

the Southwest Border.2

       7.     That plan may violate the Court’s vacatur. See Op. & Order at 108.3 But

it is unquestionably cynical, in bad faith, and contrary to both the Immigration and

Nationality Act (INA) and the APA. It is also, unfortunately, consistent with the


1
 All further citations to “Op. & Order” refer to Judge Wetherell’s March 8 Opinion and Order
unless otherwise noted.
2
  https://www.nbcnews.com/politics/biden-admin-plans-order-release-migrants-us-no-way-track-
rcna83704.
3
  To ensure consistency between any motion to enforce the existing judgment and the relief sought
in this case, Florida plans to move to transfer this case to Judge Wetherell.


                                               1
    Case 3:23-cv-09962-TKW-ZCB       Document 1     Filed 05/10/23     Page 3 of 10




game of whack-a-mole DHS has been playing with Florida and this Court for almost

two years.

       8.    Florida seeks a temporary restraining order, a preliminary injunction,

an order postponing the effective date, and ultimately vacatur of the new policy.

                                     PARTIES

       9.    Plaintiff State of Florida is a sovereign State and has the authority and

responsibility to protect its public fisc and the health, safety, and welfare of its

citizens.

       10.   Florida sues Defendant the United States of America under 5 U.S.C.

§§ 702–03 and 28 U.S.C. § 1346.

       11.   Defendant Alejandro Mayorkas is the Secretary of DHS. DHS is the

federal agency principally responsible for immigration enforcement. As most

relevant here, DHS oversees U.S. Citizenship and Immigration Services (USCIS),

U.S. Customs and Border Protection (CBP), and Immigration and Customs

Enforcement (ICE). Florida sues Secretary Mayorkas in his official capacity.

       12.   Defendant Raul Ortiz is the Chief of Border Patrol, which is a

component of CBP. Florida sues him in his official capacity.

                         JURISDICTION AND VENUE

       13.   The    Court    has    subject   matter    jurisdiction     pursuant     to

28 U.S.C. §§ 1331, 1346, and 1361, and 5 U.S.C. §§ 702–03.


                                          2
    Case 3:23-cv-09962-TKW-ZCB        Document 1      Filed 05/10/23    Page 4 of 10




      14.    The Court is authorized to award the requested declaratory and

injunctive relief under 5 U.S.C. §§ 705–06, 28 U.S.C. §§ 1361 and 2201–02, the

Constitution, and the Court’s equitable powers.

      15.    Venue lies in this district pursuant to 28 U.S.C. § 1391(e)(1) because

the State of Florida is a resident of every judicial district in its sovereign territory,

including this judicial district (and division). Florida v. United States, No. 3:21-cv-

1066, 2022 WL 2431443, at *2 (N.D. Fla. Jan. 18, 2022). Further, because this

lawsuit principally concerns conduct related to Florida’s previous challenge, which

was litigated in this division, a substantial part of the events or omissions giving rise

to Florida’s claims occurred here.

                           FACTUAL BACKGROUND

      16.    On September 28, 2021, Florida filed its Complaint in Florida v. United

States. Doc. 1, No. 3:21-cv-1066-TKW-ZCB (N.D. Fla.).

      17.    Florida initially challenged DHS’s “prosecutorial discretion” policy,

which involved the mass release of aliens at the Southwest Border without any

processing or accountability. Shortly after Florida sued, DHS replaced that policy

with the first Parole + ATD Policy (the November Parole + ATD Policy). Doc. 6-2,

No. 3:21-cv-1066-TKW-ZCB (N.D. Fla. Dec. 3, 2021).




                                           3
    Case 3:23-cv-09962-TKW-ZCB        Document 1     Filed 05/10/23   Page 5 of 10




      18.    Eight months later, DHS rescinded the November Parole + ATD Policy

and replaced it with the July Parole + ATD Policy. See Doc. 70, No. 3:21-cv-1066-

TKW-ZCB (N.D. Fla. July 20, 2021).

      19.    It is plain from the record that DHS’s practice of constantly changing

its policies was based on DHS’s conclusion that its policies were indefensible.

      20.    As Judge Wetherell remarked during closing arguments, “it seemed to

me that the real reason” for the policy change was that “doing prosecutorial

discretion releases . . . was more challenging to defend than something based on a

specific parole statute.”

      21.    Similarly, Judge Wetherell remarked at the pretrial conference that he

“would hope it would be fairly obvious to everyone” that the prosecutorial discretion

practice was “invalid.”

      22.    Judge Wetherell made similar comments with respect to the first

iteration of Parole + ATD. Specifically, he said that he was “pretty clear” as the case

progressed that if DHS “had not come up with a new memo and a new administrative

record . . . it was dead on arrival.” He further stated that it was “pretty

obvious . . . that [DHS] created this new July memo to backfill the problem they had

with a policy that was completely indefensible.”

      23.    On March 8, 2023, the Court vacated the July Parole + ATD Policy and

remanded to DHS for further proceedings. Op. & Order at 108. The Court did not


                                          4
   Case 3:23-cv-09962-TKW-ZCB        Document 1     Filed 05/10/23     Page 6 of 10




vacate the prosecutorial discretion policy or the November Parole + ATD Policy

because DHS insisted that it had abandoned those policies and any such challenges

were therefore moot.

      24.    DHS did not seek an emergency stay of the Court’s order. Instead, DHS

waited until the second to last business day before the deadline to file its notice of

appeal. Doc. 159, No. 3:21-cv-1066-TKW-ZCB (N.D. Fla. May 5, 2023).

      25.    Based on DHS’s repeated representations to Florida and to the Court,

both by its attorneys and by its employees and agents under oath, the Court’s vacatur

left DHS with Order of Recognizance releases under 8 U.S.C. § 1226(a) as the only

available processing mechanism for Border Patrol to release aliens en masse at the

Southwest Border. Notably, releases under § 1226(a) require DHS to first initiate

removal proceedings against the alien as a precondition for release.

      26.    On May 9, 2023—approximately two months after the Court vacated

the July Parole + ATD Policy—the media began reporting that Border Patrol planned

to restart the mass release of migrants at the Southwest Border upon the expiration

of the Title 42 order on May 11, 2023.

      27.    On May 10, a DHS spokesperson told the media that DHS plans to

employ the “targeted use of parole [to] allow Border Patrol to focus its resources




                                          5
    Case 3:23-cv-09962-TKW-ZCB          Document 1      Filed 05/10/23    Page 7 of 10




most effectively [on] quickly process[ing] and remov[ing] individuals who do not

have a legal basis to remain in the country.”4

       28.    In short, rather than seek a stay of the Court’s judgment in good faith,

the Biden Administration plans to continue its game of whack-a-mole with Florida

and with this Court by promulgating yet another unlawful policy. And DHS

apparently hopes that with final judgment entered in Florida v. United States and an

appeal pending, Florida will have to start from scratch.

       29.    As the Court already recognized, Florida is injured by DHS’s mass

release of aliens at the Southwest Border, including by paying education expenses,

unemployment benefits, the costs of incarceration, emergency Medicaid, and other

similar benefits. Op. & Order at 44, 53–58. And those injuries are irreparable

because DHS has sovereign immunity.

       30.    Florida therefore seeks the following relief.

                                        CLAIMS

                                       COUNT 1

                Agency action that is not in accordance with law
               and is in excess of authority in violation of the APA

       31.    Florida repeats and incorporates by reference ¶¶ 1–30.




4
  https://www.nbcnews.com/politics/biden-admin-plans-order-release-migrants-us-no-way-track-
rcna83704.


                                             6
    Case 3:23-cv-09962-TKW-ZCB        Document 1     Filed 05/10/23    Page 8 of 10




      32.     Under the APA, a court must “hold unlawful and set aside agency

action” that is “not in accordance with law” or “in excess of statutory . . . authority,

or limitations, or short of statutory right.” See 5 U.S.C. § 706(2)(A), (C).

      33.     DHS’s new policy violates 8 U.S.C. §§ 1225(b), 1226(a), and

1182(d)(5).

                                      COUNT 2

        Arbitrary and capricious agency action in violation of the APA

      34.     Florida repeats and incorporates by reference ¶¶ 1–30.

      35.     Under the APA, a court must “hold unlawful and set aside agency

action” that is “arbitrary [or] capricious.” 5 U.S.C. § 706(2)(A).

      36.     While DHS has not yet provided a copy of the new policy to Florida, it

is impossible to imagine that DHS has engaged in reasoned decisionmaking. DHS

should have sought an emergency stay of the Court’s vacatur if it disagreed with the

Court’s ruling. DHS is instead thumbing its nose at a coequal branch of government.

                                      COUNT 3

        Failure to conduct notice and comment in violation of the APA

      37.     Florida repeats and incorporates by reference ¶¶ 1–30.

      38.     The APA requires notice of, and comment on, agency rules that “affect

individual rights and obligations.” Chrysler Corp. v. Brown, 441 U.S. 281, 303

(1979); see 5 U.S.C. § 553.


                                           7
   Case 3:23-cv-09962-TKW-ZCB       Document 1        Filed 05/10/23   Page 9 of 10




      39.     As the Court already explained, Op. & Order at 99–102, new release

policies like the one at issue here are subject to notice and comment. Nor could DHS

possibly have good cause given its own delay and poor planning.

                             PRAYER FOR RELIEF

      For these reasons, Florida asks the Court to:

       a) Expedite this action.

       b) Enter a temporary restraining order preventing DHS from enforcing or

            implementing the new policy.

       c) Delay the effective date of the new policy under 5 U.S.C. § 705.

       d) Preliminarily and permanently enjoin Defendants from enforcing or

            implementing the new policy.

       e) Hold the new policy unlawful and set it aside under 5 U.S.C. § 706.

       f) Issue declaratory relief declaring the new policy unlawful.

       g) Award Florida costs and reasonable attorney’s fees.

       h) Award such other relief as the Court deems equitable and just.




                                           8
Case 3:23-cv-09962-TKW-ZCB   Document 1   Filed 05/10/23   Page 10 of 10




                               Respectfully submitted,

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                                 9
